
*95opinion.
Lansdon:
The only issue involved in this appeal is whether good
will of the taxpayer, carried on its books of account in the amount of $98,668.64, had such a value or any value during the years in question. The Commissioner has excluded good will in any amount from his computation of the taxpayer’s, invested capital, alleging that no value of such good will has been proved by the taxpayer either at the date of incorporation or at any subsequent time.
In support of its contention that its good will had value at the-date of the stock issue therefor and at all times thereafter, the taxpayer offered evidence at the hearing that is convincing to the Board.
It is in evidence that the original proffer to sell the assets of the predecessor business to the taxpayer specially included “ going *96value ” as a part of the property offered. The taxpayer has proved that a one-third interest in the assets taken by it in exchange for stock had just previously been sold for a consideration of $50,000 •on a valuation determined by an appraisal by the Orphans Court of Cambria County, Pa. The facts set forth in paragraph 5 of the findings of fact herein show an earning capacity of the taxpayer .sufficient to establish good-will value of at least $47,617.06.
The Associated Press franchise acquired by the taxpayer from the predecessor business and owned and used by it for business purposes ¡from that time certainly has a substantial money value. The president of the taxpayer testified that he considers such franchise worth :at least $50,000, and that he would not sell it for $100,000. The -trade name and circulation of the newspaper published by the taxpayer have considerable value.
In the light of all the evidence, the Board is of the opinion that -the taxpayer is entitled to have the value of good will in the amount of $37,500, the maximum permitted by the statute, included in the .computation of its invested capital for each of the years 1919 and 1920, for the purpose of determining its liability for income and profits taxes for such years.
